Case 1:22-cr-00355-ENV         Document 158        Filed 02/19/25      Page 1 of 4 PageID #: 561

                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
TH:ALK/SMS/SMS                                        271 Cadman Plaza East
F. #2018R00369                                        Brooklyn, New York 11201

                                                      February 4, 2025

FILED UNDER SEAL

By ECF and Email

The Honorable Eric N. Vitaliano
United States District Court Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:      United States v. Hector Rosario
                        Criminal Docket No. 22-355 (ENV)

Dear Judge Vitaliano:

               The government respectfully submits this letter in advance of trial in the above-
referenced matter to: (1) provide notice to the Court and the defendant of certain materials relating
to government witnesses, pursuant to Giglio v. United States, 405 U.S. 150 (1972);1 and (2) move
to preclude the defendant from cross-examining the witnesses, or otherwise mentioning at trial,
the information described below. The government does not concede the relevance, materiality or
admissibility of the enclosed information, but provides it in an abundance of caution. The
government reserves the right to supplement this disclosure and motion as additional information
becomes available.

I.     The Government’s Witnesses

                At the trial, the government intends to call CW #2             As detailed in the
government’s motions in limine, CW #2, an associate of the Bonanno crime family, is expected to
testify that, among other things, he directed the defendant to conduct a fake police raid of Sal’s
Shoe Repair and to shut down other competing gambling parlors.




       1
              In addition to the material described herein, the government disclosed to the
defendant material pursuant to 18 U.S.C. § 3500, which may also include Giglio material.
Case 1:22-cr-00355-ENV         Document 158           Filed 02/19/25    Page 2 of 4 PageID #: 562




               In discovery, the government produced to the defendant




               In addition, in an abundance of caution, on February 3, 2025, the government
produced to defense counsel (1) a proposed plea allocution from counsel for CW #2, and
(2) a proposed plea allocution                          and an email from the government stating
the government’s belief that the proposed allocution satisfied the legal elements of the offense.

II.    Motion to Preclude

               A.      Applicable Law

                The Federal Rules of Evidence limit the circumstances under which evidence of
specific acts of a witness may be introduced. Specifically, Rule 608(b) allows for cross-
examination regarding specific instances of a witness’s conduct only if probative of truthfulness
or untruthfulness. Rule 608(b) also prohibits the use of extrinsic evidence to prove such specific
instances of conduct and provides broad discretion to the trial judge to limit cross-examination as
to specific instances. See Fed. R. Evid. 608(b) (in the discretion of the court, if “probative of the
character for truthfulness or untruthfulness,” specific instances of prior conduct “may” be inquired
into (emphasis added)). Rule 611 similarly provides that “cross-examination should be limited to
the subject matter of the direct examination and matters affecting the credibility of the witnesses”
and provides that the Court should “protect witnesses from harassment or undue embarrassment.”
Fed. R. Evid. 611.

                “The scope and extent of cross-examination lies within the sound discretion of the
trial judge.” United States v. Scarpa, 913 F.2d 993, 1018 (2d Cir. 1990) (internal quotation marks
omitted); see also United States v. Rosa, 11 F.3d 315, 335–36 (2d Cir. 1993) (“[T]he decision to
restrict cross-examination will not be reversed absent an abuse of discretion”); United States v.
Beverly, 5 F.3d 633, 638 (2d Cir. 1993). Thus, “‘[t]rial judges retain wide latitude . . . to impose
reasonable limits on such cross-examination based on concerns about, among other things,
harassment, prejudice, confusion of the issues, the witnesses’ safety, or interrogation that is
repetitive or only marginally relevant.’” United States v. Crowley, 318 F.3d 401, 417 (2d Cir.
2003) (quoting Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986)).

                “As long as a defendant’s right to confront the witnesses against him is not violated,
limitations on cross-examination are not grounds for reversal,” United States v. Roldan-Zapata,
916 F.2d 795, 806 (2d Cir. 1990), and “[t]he decision of the trial court to restrict cross-examination
will not be reversed on appeal unless its broad discretion has been abused,” United States v.
Maldonado-Rivera, 922 F.2d 934, 956 (2d Cir. 1990); accord United States v. Miles, 889 F.2d 382,
384 (2d Cir. 1989) (trial court’s ruling will not be disturbed unless judge acted “arbitrarily or
irrationally”). Curtailment of cross-examination does not constitute an abuse of the trial court’s
discretion as long as “the jury was already in possession of sufficient information to make a
discriminating appraisal of the particular witness’s possible motives for testifying falsely in favor
of the government.” United States v. Singh, 628 F.2d 758, 763 (2d Cir. 1980); see also, e.g., Rosa,
11 F.3d at 336 (citations omitted).


                                                  2
Case 1:22-cr-00355-ENV   Document 158   Filed 02/19/25   Page 3 of 4 PageID #: 563
Case 1:22-cr-00355-ENV          Document 158           Filed 02/19/25    Page 4 of 4 PageID #: 564




party’s characterization of a witness’s statement is “irrelevant as an impeaching prior inconsistent
statement, and thus inadmissible.” Id.; see United States v. Ferguson, No. 06-CR-137(CFD), 2007
WL 4577303, at *2 (D. Conn. Dec. 26, 2007) (“To constitute a prior statement with which a
witness may be impeached under Rule 613, then, the statement must either be a verbatim recording
of the prior statement or a third party’s characterization of the statement to which the witness has
expressly subscribed or otherwise adopted.”); United States v. Weissman, No. 01-CR-529 (BSJ),
2002 WL 31875410, at *2 (S.D.N.Y. Dec. 26, 2002) (law firm’s notes of witness interviews were
not prior statements of the witnesses and were thus inadmissible as impeachment evidence).

III.    Conclusion and Request for Sealing

               For the reasons stated above, the government respectfully requests that the Court
preclude the defendant from cross-examining the witnesses about the aforementioned information.

                The government also respectfully requests permission to file this letter under seal.
As an initial matter, the government is sensitive to the need to minimize the amount of information
in a criminal case that is filed under seal. See, e.g., United States v. Aref, 533F.3d 72, 83 (2d Cir.
2008) (noting “the requirement that district courts avoid sealing judicial documents in their entirety
unless necessary”); Lugosch v. Pyramid Co., 435 F.3d 110, 119-20 (2d Cir. 2006) (noting that
sealing orders should be “narrowly tailored”). However, sealing is warranted here to protect the
potential witness’s privacy interests. United States v. Amodeo, 71 F.3d 1044, 1050-51 (2d Cir.
1995) (privacy interests of third parties may be compelling reason justifying sealing).

                Under these circumstances, the government’s interest in safeguarding the privacy
of the potential witness outweighs the public’s qualified right to access such information. Because
the facts set forth in this letter provide a sufficient basis for the “specific, on the record findings”
necessary to support sealing, Lugosch, 435 F.3d at 120, the government respectfully requests that
the Court record those findings and permit the filing of this letter under seal.


                                                         Respectfully submitted,

                                                         JOHN J. DURHAM
                                                         United States Attorney
                                                         Eastern District of New York

                                                By:         /s/
                                                         Anna L. Karamigios
                                                         Sophia M. Suarez
                                                         Sean M. Sherman
                                                         Assistant U.S. Attorneys
                                                         (718) 254-7000


cc:     Clerk of the Court (ENV) (by ECF)
        Counsel of Record (by E-mail)



                                                   4
